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                                         ***AS MODIFIED
                                         IN SECTION 6.3***
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               the parties shall comply with the court's Standing Order regarding resolution
  of discovery disputes and present the dispute in a joint letter to the court.
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